Case 4:09-cr-00504-CW Document1 Filed 05/12/09 Page 1of5

Anited States District Coyrt”

FOR THE Ary
NORTHERN DISTRICT OF CALIFORNIA...

MEY Ek

VENUE: SAN FRANCISCO LS

UNITED STATES OF AMERICA,
V.

CRO9 0594

SHOLEH A. HAMEDANI,
NASSER V. HAMEDANI,

DEFENDANT(S).

INDICTMENT

VIOLATIONS: 18 United States Code, Section 1348 -
Securities Fraud

A true bill.
A NAtihafttry brAtet
Gd Foreman
Filed in open court this__ 2. #&_-day of
Dg
Clerk \
pail, Fie Prece os ,
Sse _ &———_—__

G™

Case 4:09-cr-00504-CW Document1 Filed 05/12/09 Page 2 of 5

wr

AO 257/Rev. 6/78)

ve

‘ DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ee - inte DISTRICT COURT |

BY: L] complaint [1] INFORMATION INDICTMENT
_] SUPERSEDING

OFFENSE CHARGED 7
VIOLATION: [_] Petty
Tile 18, United States Code, Section 1348 - Securities Fraud.
[] Minor
Ol Misde-
meanor
Felony

PENALTY: Upto 25 years imprisonment; Fine $2S0,000 or twice the amount
of loss or gain whichever is greater; Supervised Release up to 5
years and $100 Special Assessment.

Name of Complaintant Agency, or Person (& Title, if any)

FBI

person is awaiting trial in another Federal or State Court,
L give name of court

this person/proceeding is transferred from another district
L per (circle one) FRCrp 20, 21, or 40. Show District

this is a reprosecution of
charges previously dismissed

which were dismissed on motion SHOW

of DOCKET NO
[] U.S. ATTORNEY LC] DEFENSE \

this prosecution relates to a
pending case involving this same

defendant MAGISTRATE

prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under

\ CASE NO.
Name and Office of Person

Furnishing Information on this form JOSEPH P. RUSSONIELLO
[x] U.S. Attorney [| Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) TIMOTHY J. LUCEY

—
PROCESS:
[-] SUMMONS NO PROCESS" [] WARRANT

\f Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

Comments:

Name of vist andlor Judg@Magistrate Location
NORTHERN ve kaioage CALIFORNIA

"ehyerAweisco SRISION

el Mer hee

r— DEFENDANT - U.S 376 oop 7

Nea

» SHOLEH A. HAMEDANI

DISTRICT COURT NUMBER

DEFENDANT

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) [x] If not detained give date any prior
summons was served on above charges d

2) [_] |s a Fugitive

3) [_} 's on Bail or Release from (show District)

IS INCUSTODY
4) [[] On this charge

5) [[] On another conviction

} [ ] Federal [_] State

6) [_] Awaiting trial on other charges

If answer to (6) is "Yes", show name of institution

Has detainer L_] Yes } It"Yes
give date

been filed? Oo No filed
DATE OF » Month/Day/Year
ARREST

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

L] This report amends AO 257 previously submitted

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

Case 4:09-cr-00504-CW Document1 Filed 05/12/09 Page 3 of 5

AO 257 (Rev. 6/78) ‘ew’ we
‘ DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. oot COURT
py: [] comptaint LC] INFORMATION [XI INDICTMENT Name of District Court, and/or lye
es (_] SUPERSEDING NORTHERN ranch ALIFQ
SAN FRANC I on
VIOLATION: [_] Petty p NYISION — 4
Tile 18, United States Code, Section 1348 - Securities Fraud. A 1! Ry, ies Try
[Minor r~ DEFENDANT - U.S tts
tank wy
Misde- Uy
C1 meanor NASER V. HAMEDANI ‘R Ww
Fel
a eony DISTRICT COURT NUMBER
PENALTY: Up to 2S years imprisonment; Fine $250,000 or twice the amount
of loss or gain whichever is greater; Supervised Release up to 5 , 4
years and $100 Special Assessment. 9 0

DEFENDANT

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) [x] [x] If not detained give date any prior
summons was served on above charges

Name of Complaintant Agency, or Person (& Title, if any)

FBI

person is awaiting trial in another Federal or State Court, 2) (_] Is a Fugitive
O give name of court

3) [_] Is on Bail or Release from (show District)

this person/proceeding is transferred from another district
L per (circle one) FRCrp 20, 21, or 40. Show District
IS INCUSTODY

4) [| On this charge

this is a reprosecution of

charges previously dismissed 5) On another conviction
O which were dismissed on motion SHOW O } [] Federal [_] State
of: DOCKET NO.
6) [_] Awaiting trial on other charges
U.S. ATTORNEY DEFENSE
OU UJ If answer to (6) is "Yes", show name of institution
this prosecution relates to a hWoet
[_] pending case involving this same Has detainer L_] Yes } give date
defendant MAGISTRATE been filed? [1] No filed
CASE NO. Month NY
prior proceedings or appearance(s) DATE OF » onth/Day/Year
before U.S. Magistrate regarding this ARREST
defendant were recorded under Or... if Arresting Agency & Warrant were not
Name and Office of Person DATE TRANSFERRED Month/Day/Year
Furnishing Information on this form JOSEPH P. RUSSONIELLO TO U.S. CUSTODY
(x) U.S. Attorney [] Other U.S. Agency
Name of Assistant US. [_] This report amends AO 257 previously submitted

Attorney (if assigned) TIMOTHY J. LUCEY
ADDITIONAL INFORMATION OR COMMENTS

[ PROCESS:
C] SUMMONS NO PROCESS* CJ WARRANT Bail Amount:

If Summons, complete following:

CO Arraignment CO Initial Appearance * Where defendant previously apprehended on complaint, no new summons or

warrant needed, since Magistrate has scheduled arraignment
Defendant Address:

Date/Time: Before Judge:

Comments:

Case 4:09-cr-00504-CW Document1 Filed 05/12/09 Page 4of5

ww

JOSEPH P. RUSSONIELLO (CSBN 44332)
United States Attorney

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA VRW
SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, ) CR 0 9 05 0 4
)
Plaintiff, ) VIOLATION:
)
Vv. ) Title 18, United States Code, Section 1348 —
) Securities Fraud
SHOLEH A. HAMEDANI, )
NASSER V. HAMEDANIT, ) SAN FRANCISCO VENUE
)
)
Defendants. )
)
)
INDICTMENT
The Grand Jury charges:

1. Beginning in or about 2002, and continuing to in or about August 2005, in the
Northern District of California and elsewhere, the defendants
SHOLEH A. HAMEDANI and
NASSER V. HAMEDANI,
knowingly executed and attempted to execute a scheme and artifice to defraud in connection with
a security, to wit, the securities of The Children’s Internet, Inc. (““TCI’’) a company with its
principal place of business in the Northern District of California and an issuer with a class of

securities registered under Section 12 of the Securities Exchange Act of 1934 (15 U.S.C. 781)

Case 4:09-cr-00504-CW Document1 Filed 05/12/09 Page 5 of 5

1 | and that is required to file reports under section 15(d) of the Securities Exchange Act of 1934

2 | (15 U.S.C. 780(d)), and knowingly executed and attempted to execute a scheme and artifice to
3 obtain, by means of false and fraudulent pretenses, representations, and promises, money and

4 || property in connection with the purchase and sale of a security, to wit, the securities of TCI, an
5 || issuer with a class of securities registered under Section 12 of the Securities Exchange Act of

6 | 1934 (15 U.S.C. 781) and that is required to file reports under section 15(d) of the Securities

7 || Exchange Act of 1934 (15 U.S.C. 780(d)).

8 2. On or about May 13, 2004, defendants executed the scheme and artifice to defraud by

9 | filing, and causing to be filed, with the Securities and Exchange Commission in or about

10 || Washington, D.C., a document known as Securities and Exchange Commission Form 424B2
11 || (also known as a prospectus), that contained therein materially false and fraudulent pretenses,
12 || representations and promises that, among other things, proceeds from the sale of the securities
13 || being offered in the prospectus would be used to implement TCI’s marketing and sales plan, for
14 || technical operations, and to provide general operating capital, as set forth in the prospectus in the
15 |] sections entitled “Use of Proceeds” and “Plan of Operation,” when, in fact, each defendant

16 || intended to use the proceeds from the sale of the securities being offered in the prospectus for

17 || other purposes, including personal expenses not related to TCI.

18 All in violation of Title 18, United States Code, Section 1348.
19
20|}DATED: —_ 9/2409 A TRUE BILL
21
22 ( Aerreliratiton CAdrek/
FOREPERSON
23 || JOSEPH P. RUSSONIELLO
United States Attorney

ae

Chief, Criminal Division na

28 || (Approved as to form Cc

Sx See

